          Case 1:17-bk-12408-MB                  Doc 25 Filed 09/12/17 Entered 09/12/17 17:12:18                                     Desc
                                                  Main Document     Page 1 of 3
 RON BENDER (SBN 143364)
                                                                                          FOR COURT USE ONLY
 MONICA Y. KIM (SBN 180139)
 KRIKOR J. MESHEFEJIAN (SBN 255030)
 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
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 Email: rb@lnbyb.com; kjm@lnbyb.com                                                                           SEP 12 2017
 Proposed Attorneys for Chapter 11 Debtor and Debtor in
                                                                                                        CLERK U.S. BANKRUPTCY COURT
 Possession                                                                                             Central District of California
                                                                                                        BY Reaves DEPUTY CLERK




                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:                                                                                   LEAD CASE NO.: 1:17-bk-12408-MB
 IRONCLAD PERFORMANCE WEAR CORPORATION, a                                                 CHAPTER: 11
 California corporation,
                                                                                          JOINTLY ADMINISTERED WITH:
                                          Debtor and Debtor in Possession.                CASE NO.: 1:17-bk-12409-MB
            ---------------------------------------------------------------------------
 In re:

 IRONCLAD PERFORMANCE WEAR CORPORATION, a Nevada
 corporation,

                                          Debtor and Debtor in Possession.



                                                   Debtor(s)
             _____________________________________________
     Affects All Debtors

    Affects Ironclad Performance Wear Corporation, a California                            ORDER    GRANTING    DENYING
 corporation only
                                                                                             MOTION TO APPROVE JOINT
    Affects Ironclad Performance Wear Corporation, a Nevada                                  ADMINISTRATION OF CASES
 corporation only
                                                                                                   [LBR 1015-1, 9013-1(q)]


                                                                          Debtor(s)                     [No Hearing Required]




             This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

December 2014                                                         Page 1                F 1015-1.1.ORDER.JOINT.ADMINISTRATION
        Case 1:17-bk-12408-MB                  Doc 25 Filed 09/12/17 Entered 09/12/17 17:12:18                                      Desc
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    On September 11, 2017 a motion was filed requesting approval of joint administration of cases identified in the
caption above, with the lead case being In re Ironclad Performance Wear Corporation, a California corporation, case
number 1-17-bk-12408-MB.

Having reviewed the motion, IT IS ORDERED THAT:

1. The motion is:        Granted          Denied

2. Promptly upon entry of an order granting a motion to approve joint administration:

    a) Using the mandatory court form, the movant must file a Notice of Joint Administration of Cases and Requirements
       for Filing Documents (Notice).

    b) To facilitate service of the Notice by NEF to registered CM/ECF users, the Notice must be filed in each case being
       jointly administered.

    c) The Notice must be served via United States mail on all creditors and interest holders in each case being jointly
       administered.

    d) To facilitate notice of documents sent by the court via the Bankruptcy Noticing Center, the movant must file in the
       lead case an amended master mailing list that contains the name and mailing address of all creditors and interest
       holders from each case being jointly administered.




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December 2014                                                      Page 2                 F 1015-1.1.ORDER.JOINT.ADMINISTRATION
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2. Other: The following caption is approved and shall be used in connection with these jointly administered cases:


In re:                                                             Lead Case No.: 1:17-bk-12408-MB

IRONCLAD PERFORMANCE WEAR                                          Jointly administered with:
CORPORATION, a California corporation,                             1:17-bk-12409-MB
                                                                   (Ironclad Performance Wear Corporation, a
         Debtor and Debtor in Possession.                          Nevada corporation)
____________________________________
In re:                                                             Chapter 11 Cases

IRONCLAD PERFORMANCE WEAR
CORPORATION, a Nevada corporation,
                                                                   Date:
         Debtor and Debtor in Possession.                          Time:
____________________________________                               Place: Courtroom 303
                                                                          21041 Burbank Blvd.
   Affects both Debtors                                                   Woodland Hills, CA 91367

  Affects Ironclad Performance Wear Corporation, a
California corporation only

  Affects Ironclad Performance Wear Corporation, a
Nevada corporation only




                                                                         ###




                Date: September 12, 2017




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

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